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                                      UNITED STATES BANKRUPTCY COURT
                                       WESTERN DISTRICT OF MICHIGAN




IN RE:    DUSTIN M COLEMAN                                                    CASE NO: DL-16-02484
          2600 S HOLLISTER                                                    Chapter 13
          OVID, MI 48866                                                      HON. SCOTT W. DALES
                                                                              Filed: May 03, 2016

                                                                              Confirmed:   November 10, 2016




                        TRUSTEE'S MOTION TO DISMISS CHAPTER 13 CASE
         NOW COMES, Barbara P. Foley, Chapter 13 Trustee ("Trustee") and files her Motion to Dismiss for the

following reasons:

         FAILURE TO TURNOVER 2016 FEDERAL, STATE AND CITY INCOME TAX RETURNS AND
         REFUNDS.

         WHEREFORE, your Trustee respectfully prays:

         A. That this Court enter an Order dismissing the Debtor's Chapter 13 Case.

         B. That this Court grant such other relief as it finds just and equitable.



September 14, 2017                                                   /s/ Barbara P. Foley
                                                                    Barbara P. Foley (P34558)
                                                                    CHAPTER 13 TRUSTEE
                                                                    229 E. Michigan Ave, Suite 440
                                                                    Kalamazoo, MI 49007
                                                                    (269)343-0305

This document has been electronically filed with the Court and the Attorney for Debtor and mailed to the Debtor.

Attorney for Debtor:

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         6250 ORCHARD LAKE RD
         WEST BLOOMFIELD, MI 48322
